      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                           Case No. 20-32571-dwh11

       U.S. Outdoor Holding LLC                        APPLICATION OF DEBTOR-IN-
                                                       POSSESSION FOR AUTHORITY TO
                                                       EMPLOY ATTORNEY
                Debtor-in-Possession                   (Vanden Bos & Chapman, LLP)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection with the bankruptcy court no later than twenty-one (21) days

      after the date listed in the certificate of service below. If you do not file an objection, the

      court may grant the Application without further notice or hearing. Your objection must set

      forth the specific grounds for objection and your relation to the case. The objection must be

      received by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the

      deadline specified above or it may not be considered. You must also serve the objection on

      the Debtor-in-Possession, c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW

      Washington Street, Suite 520, (503) 241-4869, within that same time. If the court sets a




Page 1 of 4     APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO                  VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                             319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
                            Case 20-32571-dwh11        Doc 8    Filed 09/04/20                    (503) 241-4869
      hearing, you will receive a separate notice listing the hearing date, time, and other relevant

      information.

                                               APPLICATION

              The applicant, Debtor-in-Possession, U.S. Outdoor Holding LLC ("Debtor"),

      respectfully represents:

              1.     Debtor has filed a petition under Chapter 11 of the Bankruptcy Code.

              2.     Debtor wishes to employ the firm of Vanden Bos & Chapman, LLP ("VBC"),

      attorneys duly admitted to practice in this Court, as Debtor's attorney in this proceeding. To

      secure such employment, Debtor paid VBC a $25,000.00 pre-petition retainer. From that

      sum VBC had earned fees and costs of $14,634.00 pre-petition and the remainder of

      $10,366.00 remains in VBC’s client trust account.

              3.     Debtor has selected VBC for the reason that VBC has experience in matters of

      this character, having worked on many other Chapter 11 cases as attorneys.

              4.     The professional services that VBC is to render include: (a) to give Debtor legal

      advice with respect to Debtor's powers and duties as debtor-in-possession in the operation

      of Debtor's business; (b) to institute such adversary proceedings as are necessary in the

      case; (c) to represent Debtor generally in the proceedings and to propose on behalf of

      Debtor as a debtor-in-possession necessary applications, answers, orders, reports and

      other legal papers; and (d) to perform all other legal services for a debtor-in-possession or

      to employ an attorney for such professional services.

              5.     To the best of Debtor's knowledge, VBC has no connection with the creditors or

      any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

      Statement on file herein.




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                                                                                              Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                           319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
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              6.    VBC represents no interest adverse to the Debtor as debtor-in-possession or to

      the estate in the matters upon which VBC is to be engaged, except as disclosed in the Rule

      2014 Verified Statement on file herein. VBC's employment would be in the best interests of

      the estate.

              7.    The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtor. The proposed terms of

      employment are as set forth in the Attorney/Client Fee Agreement, a copy of which is

      attached as Exhibit A which has been executed by the Debtor and VBC. The current

      hourly rates are as follows:

                      Ann K. Chapman, Managing Partner               $455.00
                      Douglas R. Ricks, Partner                      $405.00
                      Christopher N. Coyle, Partner                  $375.00
                      Daniel C. Bonham, Associate                    $275.00
                      Certified Bankruptcy Assistants                $250.00
                      Legal Assistants                               $135.00

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise in this area of the law.

              WHEREFORE, Debtor prays that Debtor shall be authorized to employ and appoint

      the firm of Vanden Bos & Chapman, LLP to represent Debtor as Debtor-in-Possession in

      this proceeding under Chapter 11 of the Bankruptcy Code.

      ///
      ///
      ///
      ///
      ///
      ///


Page 3 of 4    APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO               VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                          319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                            Case 20-32571-dwh11      Doc 8    Filed 09/04/20                  (503) 241-4869
              Debtor further prays for an Order (in the attached form marked as Exhibit B)

      approving the terms and conditions of VBC's employment as set forth in the Attorney/Client

      Fee Agreement attached hereto as Exhibit A.

              DATED: September 4, 2020

       U.S. OUTDOOR HOLDINGS LLC                        VANDEN BOS & CHAPMAN, LLP

       By:/s/ Edward A. Arniniello                      By:/s/Douglas R. Ricks
          Edward A. Arniniello, Manager/Member            Douglas R. Ricks, OSB #044026
          Debtor-in-Possession                            Of Attorneys for Debtor-in-Possession




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                                                                                           Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                        319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                           Case 20-32571-dwh11      Doc 8   Filed 09/04/20                  (503) 241-4869
          HOURLY ATTORNEY/CLIENT CHAPTER 11 FEE AGREEMENT


CLIENT:              U.S. OUTDOOR HOLDING LLC

ATTORNEY:            VANDEN BOS & CHAPMAN, LLP

DATED:               May 27, 2020

        Client desires to retain Attorney for but not limited to the purposes described in
this Agreement and agrees to be responsible for payment of the Attorney's fees and
costs as established in this Agreement. Attorney agrees to represent Client under the
terms and conditions of this Agreement and to be compensated at the rates set forth
in this Agreement.

        Client requests and the Attorney agrees to render professional services
including (a) giving the Client legal advice with respect to its business operations (b)
assisting the Client in any proposed reorganization of its business (c) if authorized,
filing an appropriate petition for relief under Title 11 of the United States Code; (d)
giving the Client legal advice with respect to its powers and duties in any proceeding
in bankruptcy; (e) proposing on behalf of the Client all necessary applications,
answers, orders, reports or other legal papers; (f) performing for the Client any and all
other legal services which may be necessary in connection with the filing of any
petition or proceeding in bankruptcy.

        Client and Attorney agree that the Attorney's compensation for services
performed pursuant to this Agreement shall be the Attorney's customary hourly rates
in effect at the time the services are performed for the Attorneys, legal assistants and
staff who provide services for the Client. At the time of the execution of this
Agreement, the current hourly rates are as follows:

               Ann K. Chapman, Managing Partner                $455.00
               Douglas R. Ricks, Partner                       $405.00
               Christopher N. Coyle, Partner                   $375.00
               Colleen A. Lowry, Associate                     $350.00
               Daniel C. Bonham, Associate                     $275.00
               Certified Bankruptcy Assistants                 $250.00
               Legal Assistants                                $135.00

       These hourly rates are subject to periodic adjustment to reflect economic
conditions and increased experience and expertise in this area of law. Attorney's time
and paralegal time is billed in minimum .10 hour increments

      Client will be provided with itemized monthly statements for services rendered
and expenses incurred which will be mailed on approximately the 10th of each
calendar month.

        Retainer. Attorney has requested Client, and Client agrees, to pay a Retainer
in the sum of 23,283.00 (Twenty-Three Thousand, Two-Hundred Eighty-Three
Dollars) for Attorney’s engagement, which shall be paid in advance of providing
services under this Agreement. The fees earned and costs incurred prior to the filing


Page 1 – HOURLY ATTORNEY/CLIENT CHAPTER 11 FEE AGREEMENT
EXHIBIT A - Page 1 of 7                                                     Form Revised 12/11/18

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a petition under Title 11 of the United States Code shall be paid from the Retainer as
indicated in this Agreement before such petition is filed with the Bankruptcy Court.
Client acknowledges that payment of fees earned and costs incurred after the filing of
the petition under Title 11 of the United States Code may be sought on an interim
basis (monthly or quarterly) in Attorney’s sole discretion with such fees and costs to
be paid from the balance remaining from the Retainer or, once the Retainer is
exhausted, from the Client directly.

        Based on a variety of factors and confidential discussions between Attorney
and Client subject to an Attorney/Client privilege, Attorney and Client agree that the
Retainer is a reasonable estimate of the minimum amount of fees Attorney will expend
in the case. Some of the factors which Attorney and Client considered in projecting
the minimum amount of fees included the following:

      a)     The size of the case in terms of assets, liabilities; number of creditors;

      b)     The type of the debt: secured, priority and unsecured;

      c)     The existence of disputes or litigation, both pre or postpetition;

      d)     The sophistication or lack thereof of the Client;

      e)     The condition of the Client’s books and records;

      f)     The possibility of postpetition litigation in which Attorney will have the
             obligation to defend Client;

      g)     The inability of Attorney to resign without Court approval;

      h)     The complexity of the Client’s affairs;

      i)     The amount of Attorney fees typically incurred by a Chapter 11 Debtor
             for a comparable Chapter 11 cases within the District of Oregon
      j)     The time and labor required, the novelty and difficulty of the questions
             involved, and the skill requisite to perform the legal service properly;

      k)     Because Attorney has a small office in terms of the number of partners
             and associate attorneys, and a finite amount of time available to perform
             work for Clients, Client acknowledges the likelihood that acceptance of
             Client’s chapter 11 case will necessarily preclude the Attorney from
             accepting other significant employment or cases;

      l)     The time limitations dictated by the Client circumstances, which will
             require a prompt filing and potentially significant time incurred in
             connection with contested matters at the outset of the case;

      m)     The nature and length of the professional relationship between the
             Attorney and the Client;

      n)     The experience, reputation and ability of the Attorney; and



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EXHIBIT A - Page 2 of 7                                                     Form Revised 12/11/18

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       o)     The time and labor required, the novelty and difficulty of the questions
              involved, and the skill requisite to perform the legal services properly.

        Attorney and Client agree that the actual fees will likely be more than the
Retainer because of a variety of factors, many of which are not within the control of
Attorney or Client. Attorney is not limited to the Retainer. Attorney and Client
acknowledge that the Bankruptcy Court is entitled to review Attorney’s fees for
reasonableness. The Bankruptcy Court may reduce the amount of the Attorney’s fees
in such amount that it determines reasonable based on the totality of the
circumstances, including a consideration of the reasonableness of the fee based on
the circumstances which existed at the time the employment began, as well as a
consideration of the reasonableness of the fee after the services have been rendered
and the representation has concluded. If the Bankruptcy Court requires a reduction in
the amount of the Attorney’s fees, Attorney and Client agree that all other terms and
conditions of this fee agreement shall continue to apply. Attorney shall not seek
additional compensation from Client unless Attorney’s charges for services, when
calculated at Attorney’s hourly rates provided for in this Agreement, plus costs
incurred, exceed the Retainer.

       If Attorney fails to perform the services specified in this Agreement, Client may
be entitled to a refund of unearned fees, after Attorney is compensated for services
under the terms and conditions of this Agreement, including reimbursement of
expenses incurred and payment for services actually provided at Attorney’s hourly
rates set forth in this Agreement. If permitted under applicable law, if Attorney’s failure
to provide services as obligated under this Agreement is caused by Client’s refusal to
cooperate, Client’s dishonesty in testimony or in documents filed in the bankruptcy
court or Client’s bad faith termination of Attorney’s employment without reasonable
cause, then Client shall also be obligated to compensate Attorney for Attorney’s fees
and costs in withdrawal from representation.

       Attorney and Client have discussed the Retainer in the case. Client
acknowledges that it has been informed that the total fees in the case will likely
exceed the Retainer. Client acknowledges that it has had the opportunity to confer
with other counsel before the signing of this Agreement and is satisfied that the
Retainer as projected by Attorney is likely less than the range of fees likely to be
incurred in the case.

         Client agrees, and hereby grants to Attorney, a lien upon and a security interest
in, all of Client’s funds in Attorney’s possession on the petition date, if such funds have
not been applied in payment of the fees earned and costs incurred prior to the filing a
petition under Title 11 of the United States Code.

       Attorney and Client agree that the existence of this Agreement shall be
adequately disclosed to the Court and other interested parties, including but not
limited to the United States Trustee.

       Client acknowledges that the application of the Retainer is for Attorney's hourly
services, not for payment of out-of-pocket costs associated with representing the
Client. The Retainer amount shall be in addition to the filing fee of $1,717.00
for Chapter 11, which shall be paid from the separate funds of the Client. As set forth
elsewhere in this Agreement, Attorney shall have the option to require Client to



Page 3 – HOURLY ATTORNEY/CLIENT CHAPTER 11 FEE AGREEMENT
EXHIBIT A - Page 3 of 7                                                      Form Revised 12/11/18

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perform various mailings and advance other significant costs as they become due
from the Client's ongoing income.

       Until the Retainer check clears and the funds are paid to Attorney's trust
account, Attorney shall have the option to decline to commence representing Client.
To avoid timing problems waiting for a Retainer check to clear, Attorney recommends
that Retainer checks be paid in certified funds or cash.

       In addition to the foregoing hourly rates, Client agrees to be responsible for
payment of all costs incurred in representing the Client. Examples of such costs
include filing fees, court reporter fees, long distance telephone, photocopies (whether
made in the Attorney's office or an outside printing service), etc. The Attorney's
"Expense Policy Statement" is attached as Exhibit A. A quarterly fee based on
disbursements is assessed by the Office of the US Trustee on all Chapter 11 debtors.
A copy of the US Trustee's fee schedule is attached as Exhibit B. Client is
responsible for payment of the quarterly fees.

        Client has been informed and acknowledges that Attorney has no responsibility
to hire outside professionals such as appraisers, accountants, bookkeepers, expert
witnesses, etc., unless those costs are paid in advance by the Client to the Attorney.
All professionals must also be approved by the Bankruptcy Court before starting work
or the Court will deny payment to the professional.

       Client acknowledges it has been informed of the Court's rule requiring the filing
of a “Monthly Operating Report” (Rule 2015 Report) on the Court's form by the 21st
day of each succeeding month. The form of such report will be separately provided to
the Client. The Client assumes all responsibility for completing said form and
delivering it to the Attorney's office not later than the 15th day of the calendar month.
Failure to timely file these reports can result in dismissal of the Chapter 11
proceeding.

       If asked by the Attorney, Client agrees to perform all mailings required by the
Bankruptcy Code or Rules. Client agrees to pay the costs thereof separately.
Attorney assumes no responsibility for advancing the costs of major mailings in the
case. Client acknowledges that Attorney has advised Client that there could be
several major mailings during the course of a Chapter 11 case and that the costs of
printing and postage for such mailings are significant costs. The Client may be
required to send documents to each of Client's creditors in connection with each such
mailing. Client agrees to pay mailing costs in advance of such mailings directly to the
company which will be performing such mailings.

        Attorney shall have the option, but not the duty, to proceed with representing
Client prior to payment of the above described Retainer. If Attorney performs services
prior to receipt of the Retainer, the Attorney may withdraw from representing the Client
at any time prior to payment of the agreed Retainer.

       Client agrees to cooperate with Attorney, to complete all forms requested by
the Attorney and to provide the Attorney with all information necessary to enable the
Attorney to represent the Client's best interests. If Client unreasonably declines to
cooperate or should knowingly provide the Attorney with false or fraudulent
information or testify untruthfully in any matter before the Court, the Client agrees that
Attorney shall have the right to immediately resign.


Page 4 – HOURLY ATTORNEY/CLIENT CHAPTER 11 FEE AGREEMENT
EXHIBIT A - Page 4 of 7                                                      Form Revised 12/11/18

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         If permitted by law, should either party find it necessary to take steps to enforce
this Agreement, the costs of doing so, including reasonable Attorney fees both before
trial, at trial or after appeal, as determined by the Court, will be borne by the losing
party.

       Client acknowledges that Attorney has advised that the actual Attorney's fees
and expenses, considering the size and complexity of case, will be substantial. Client
acknowledges that the Attorney has advised that under the rules of the Bankruptcy
Court, the Attorney has the right to submit an application for payment of fees to the
court in accordance with the court's rules, which will be done as frequently as court
rules permit. Such petitions for fees, when approved, will be paid from the Client's
post-petition income. Client agrees that Attorney can seek Court approval for monthly
payment of services provided if the Retainer is insufficient to compensate Attorney for
services rendered.

        Minimum Billing Increments. Attorney charges in minimum billing increments
for certain services, which Client agrees to pay, which are shown below:

                                                        MINIMUM BILLING
              SERVICE                                     INCREMENT
              Prepare letter or correspondence                  .1
              Telephone Call                                    .1
              Listen to Voice-Mail                              .1
              Leave Voice-Mail                                  .1
              Review Email                                      .1
              Reply to Email                                    .1
              Review Correspondence or                          .1
              Notices Relating to Client’s Case
              Documentation Preparation                         .1
              Court Appearance                                  .1
              341(a) Hearing Appearance                         .1
         Attorney strives to keep Client informed of the work Attorney is performing, and
Attorney stands ready to explain its services and invoices to Client’s satisfaction. If
Client ever has questions regarding Attorney’s charges, please let Attorney know
immediately so that Attorney can attempt to resolve any concerns fairly and without
delay. Also, if Client has a particular need relative to Attorney’s invoicing (e.g., the
billing format or timing of delivery), please let Attorney know and Attorney will try to
accommodate the Client.

       Client may terminate the attorney/client relationship at any time and for any
reason by delivering to Attorney a written notice of termination. Attorney also reserves
the right to terminate the attorney/client relationship, by delivering to Client a written
notice, if Client fails to pay Attorney when due any amount Client owes Attorney, if


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EXHIBIT A - Page 5 of 7                                                       Form Revised 12/11/18

                     Case 20-32571-dwh11        Doc 8    Filed 09/04/20
Client fails to cooperate with Attorney or to disclose to Attorney material information,
or if for any other reason Attorney feels Attorney is unable to continue an effective
attorney/client relationship, in each case, to the extent permitted by the applicable
rules of professional conduct, and subject to any applicable rules requiring notice and
Court approval. Upon any termination, Client will remain liable for all fees, costs and
expenses incurred prior to the termination of the attorney/client relationship. Upon
termination, Attorney will provide Client with the original or a copy of all Client’s files in
Attorney’s possession, retaining a copy for Attorney in Attorney’s discretion and at
Attorney’s cost. Once Attorney’s representation is terminated, Attorney will have no
obligation to inform Client of due dates, subsequent developments or the like, or to
maintain any documents or dockets relating to Client’s matters.

       Attorney appreciates the opportunity to serve as Client’s attorneys and
anticipates a productive and harmonious relationship. If, however, Client becomes
dissatisfied for any reason with the services Attorney has performed or Client disputes
any of the fees, costs or expenses charged by Attorney, Attorney encourages Client to
bring that dissatisfaction or dispute to Attorney’s attention at the earliest possible time.
Most problems should be rectifiable through such communication. However, should a
dispute arise between Attorney and/or Client which cannot be resolved in that manner,
then the Bankruptcy Court will resolve the dispute.

       A solid attorney/client relationship is a two-way street. Lawyers need timely and
complete cooperation and assistance from their clients just as clients need timely and
complete cooperation and assistance from their lawyers. Attorney will therefore
endeavor to keep Client informed of Client’s matters as they progress. Similarly,
Client agrees to provide Attorney with timely responses to requests for documentation
and information and to make available to Attorney personnel in order that Attorney
may effectively carry out its function as Client’s attorneys. Bear in mind that if Attorney
does not obtain such cooperation, the quality of Attorney’s representation may suffer
and Attorney may feel constrained to withdraw from any further work.

     THE ATTORNEY DOES NOT UNDERTAKE TO GIVE THE CLIENT TAX
ADVICE. CLIENT AGREES TO CONSULT ITS OWN ACCOUNTANT OR
COMPETENT TAX COUNSEL, WITH RESPECT TO ALL TAX ISSUES.

       DATED:         09/03/2020

 ATTORNEY:                                          CLIENT:

 VANDEN BOS & CHAPMAN, LLP                          U.S. OUTDOOR HOLDING LLC


 By:/s/Douglas R. Ricks                             By:/s/Edward A. Ariniello
    Douglas R. Ricks, Partner                          Edward A. Ariniello, Member

Attachments:                                                      Initial if
                                                                  Received:
               A. Expense Policy Statement (Exhibit A)            /s/EAA
               B. U.S. Trustee’s Quarterly Fee Schedule           /s/EAA


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EXHIBIT A - Page 6 of 7                                                         Form Revised 12/11/18

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                                      EXHIBIT "A"

                                      Attorney's
                               Expense Policy Statement

Photocopies:       .15 per page (in house)
Fax:               Incoming No Charge; outgoing (including long distance) at actual
                   telephone charges.

Outside
Services:          All outside entity bills are charged at actual cost.
Postage:           Postage, express mail and other overnight delivery or air courier
                   services are charged at actual cost.
Long Distance:     Long distance telephone charges are billed to Clients at actual cost.

Computerized
Research:          Actual (i.e., invoiced) cost or, for leased or flat rate computer research
                   services, $2.00 per minute not to exceed one-half of the lease cost or
                   flat rate. Time associated with computerized research to be
                   specifically identified on attorney time detail.

Travel:            Travel expenses are actual and Air fare is coach or economy class
                   only. Other expenses are actual and do not include limos. Mileage is
                   charged at the rate of allowed for federal tax deductions (currently
                   54¢ per mile).
Other Personnel
Charges:           Secretarial overtime is charged to Clients at $30.00 per hour if the
                   overtime work is due to time constraints mandated by the case or the
                   Client, not to exceed the employee’s actual hourly compensation cost
                   to the firm.
Pacer:             Actual cost (8¢ per page).
Other:             Any charges not mentioned above will be charged in accordance with
                   the applicable U.S. Bankruptcy Court Cost Guidelines contained in
                   Bankruptcy Rule 2016.




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EXHIBIT A - Page 7 of 7                                                   Form Revised 12/11/18

                   Case 20-32571-dwh11        Doc 8    Filed 09/04/20
                            IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                    Case No. 20-32571-dwh11

       U.S. Outdoor Holding LLC                 [PROPOSED] ORDER FOR THE
                                                EMPLOYMENT OF
                                                COUNSEL FOR DEBTOR-IN-
                                                POSSESSION
                      Debtor-in-Possession.     (Vanden Bos & Chapman, LLP)

               THIS MATTER having come before the court upon the application of Debtor-in-

      Possession, U.S. Outdoor Holding LLC (“Debtor”), praying for authority to employ and

      appoint the firm of Vanden Bos & Chapman, LLP ("VBC") to represent Debtor as the

      Debtor-in-Possession herein, that the connections disclosed in the Rule 2014 Verified

      Statement of VBC on file herein do not constitute adverse interests, that VBC represents no

      interest adverse to the Debtor as Debtor-in-Possession herein on the matters upon which

      VBC is to be engaged, or to the estate, (except as disclosed in the Rule 2014 Verified

      Statement on file herein), that the firm's employment is necessary and would be in the best




Page 1 of 3     [PROPOSED] ORDER FOR THE EMPLOYMENT OF COUNSEL FOR              VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                  319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                                                                                            (503) 241-4869
EXHIBIT B - Page 1 of 3
                           Case 20-32571-dwh11     Doc 8    Filed 09/04/20
      interest of the estate, and the time for filing an objection having expired and the Court being

      otherwise fully advised, it is hereby

              ORDERED as follows:

              1.     That Debtor is authorized to employ VBC to serve as attorney to represent

      Debtor as Debtor-in-Possession in this proceeding under Chapter 11 of the Bankruptcy

      Code.

              2.     The terms and conditions of the employment of VBC, set forth in the

      Attorney/Client Fee Agreement attached hereto as Exhibit 1 are approved, including as

      follows:

                     a. Of the $25,000.00 retainer, a total of $$10,366.00 shall be held in the

                        Client Trust Account for VBC and held by VBC as a retainer to be utilized

                        to pay post-petition fees when approved under procedures to be

                        established by the Court.

                     b. The $$10,366.00 of pre-petition fees and costs are subject to review for

                        reasonableness and possible disgorgement under 11 U.S.C. §§ 329, 330.

              IT IS FUTHER ORDERED that compensation shall be set by the Court to be paid

      upon Applicant’s compliance with the procedures set forth in 11 U.S.C. §§330, and/or 331.

              IT IS FURTHER ORDERED this Order shall be effective only if the firm to which it

      applies does not hold or represent an interest adverse to the estate and is a "disinterested

      person" as defined by 11 U.S.C. §101(14).

                                                    ###




Page 2 of 3      [PROPOSED] ORDER FOR THE EMPLOYMENT OF COUNSEL FOR               VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
                 DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                   319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
EXHIBIT B - Page 2 of 3
                           Case 20-32571-dwh11       Doc 8    Filed 09/04/20
      PRESENTED BY:

       VANDEN BOS & CHAPMAN, LLP                   First Class Mail:

                                                   U.S. Outdoor Holding LLC
       By:/s/Douglas R. Ricks                      c/o Edward A. Arniniello
          Douglas R. Ricks, OSB #044026            29455 SW Heater Road
          Of Attorneys for Debtor-in-Possession    Sherwood, OR 97140

       LBR 9021-1 CERTIFICATION                    Electronic Mail:
       I certify that I have complied with the
       requirement of LBR 9021-1(a); Proposed      The foregoing was served on all CM/ECF
       Order was attached to Application.          participants through the Court's Case
                                                   Management/Electronic Case File system

       By:/s/Douglas R. Ricks
          Douglas R. Ricks, OSB #044026




Page 3 of 3   [PROPOSED] ORDER FOR THE EMPLOYMENT OF COUNSEL FOR           VANDEN BOS & CHAPMAN, LLP
                                                                                       Attorneys at Law
              DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                319 SW Washington Street, Suite 520
                                                                                 Portland, Oregon 97204-2690
                                                                                        (503) 241-4869
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                  )
                                                   20-32571-dwh11
                                       ) Case No. ________________
U.S. Outdoor Holding LLC,              )
                                       ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                              ) FOR PROPOSED PROFESSIONAL
                                            (Vanden Bos & Chapman, LLP)
Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
        See Attached Continuation Statement No. 13.




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
     [Fill in info from Atty Compensation from Petition]. See Attached Continuation Statement No. 15
     for a list of payments made by Debtor to Vanden Bos & Chapman, LLP.




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
     To Be Provided by Amendment.




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
     N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
     To Be Provided by Amendment.




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21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
    To Be Provided by Amendment.




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
    To Be Provided by Amendment.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
    To Be Provided by Amendment.




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
    To Be Provided by Amendment.




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               /s/Douglas R. Ricks
                                                                              Applicant

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Continuation Statement No. 13:

    1. Applicant’s firm, Vanden Bos & Chapman, LLP (“VBC”), maintains deposit
accounts at KeyBank and a credit card account at KeyBank, which is used exclusively
for payments on the Court’s CM/ECF System. VBC also maintains a credit card
account with Capital One for business expenses. Both the KeyBank and Capital One
credit card accounts are paid off monthly with no balance carried forward. Attorneys
and staff at VBC may have social or other professional relationships with Bankruptcy
Court judges, the Clerk of the Bankruptcy Court, clerks and/or staff of the Bankruptcy
Court, employees of the office of the United States Trustee, other federal employees,
and individuals who are members of law firms involved in this case or who are
employed by creditors or other parties in interest. Other than with respect to the United
States Bankruptcy Court for the District of Oregon and the Office of the U.S. Trustee or
as otherwise outlined herein, VBC has conducted no investigation of its attorneys or
staff members’ employment, banking, insurance, brokerage or investment activities or
familial connections in preparing this statement.

   2. The spouse of one of the Partners of Applicant is a Tier One PERS retiree. The
spouse of another of the Partners of Applicant is a current employee of the State of
Oregon. The State of Oregon, and its respective agencies, is a potential creditor and
party in interest in this case.

   3. VBC does not have banking relationships with any of the creditors in the case.

Continuation Statement No. 15:

                  Payment Date                     Payment Amount
                    04/30/19                           $1,500.00
                    06/07/19                           $2,500.00
                    07/09/20                           $6,750.00
                    09/04/20                          $14,634.00




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                               CERTIFICATE - TRUE COPY

DATE:             September 4, 2020

DOCUMENT:         APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO
                  EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP); RULE 2014
                  VERIFIED STATEMENT OF PROPOSED PROFESSIONAL (Vanden
                  Bos & Chapman, LLP)

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

        U.S. Outdoor Holding LLC
        Attn: Edward A. Arinello
        29455 SW Heater Road
        Sherwood, OR 97140

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: September 4, 2020               VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Of Attorneys for Debtor-in-Possession




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